 

 

 

Case 19-11016 Doci Fi|ecl 01/25/19 Pagei 0f9

   

Fill in this information to identify your case:

   

  

United States Bankruptcy Court for lhe:

 
 

District of 2 ‘

   

 

 
 

Case number (/fknown): Chapter you are filing under: § '

Chapter 7

EChapter 1 1
- n Chapter 12
El chapter 13

,) ”
official Form 101 § ;F(;FFL,LO/HW?Z7

Voluntary Petition for lndividuals Filing for Bankruptcy izm

The bankruptcy forms use you and Debtor 1 to refer to a debtor H|ing alone. A married couple may me a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and
Debtor 2 to distinguish between them, ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. lf two married people are H|ing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

   

D check ifthis is an
amended Hling

 

 

 

mntlfy Yourself

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l About Debtor 1: About Debtor 2 (Spouse Only in a Jolnt Case):
1 1. Your full name
Write thename that is on your g "D‘\Q/(`/

¢` govemm`ent-issued picture _ , v

, ideniincation (er examplel F"S‘ name F"$' name
f your driver’s license or __M\ wide
l passpon). Miadi na`me 4 3 Middle name
f Bring your picture OL/D`(/

identification to your meeting Last name '-ast name

f with the trustee.
g Suflix (Sr., Jr., ll, lll) Suffix (Sr., Jr., |l, lll)
l
f 2. All other names you
j have used in the last 8 Fi,$t name F|,St name
ii years
l lnc|ude your married or Middle name Middle name
l maiden names.
l Last name Last name
l
j First name First name
§§ Middle name Middle name
g Last name Last name
i
l

 

. ' f '
3 Only the last4digltso XXX __ XX _L‘h g Q O xxx _ XX ___

your Social Security

 

number or federal oR OR
|ndividua| Taxpayer
ldentification number 9 XX _ XX __ _ __ __ 9 XX ` XX ____ __ _ __
(|TlN)
Oflicial Forrn 101 Voluntary Petition for individuals Filing for Bankruptcy page 1

 

 

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cattle .i\,~tict\ betts

First Name‘ Middle Name Last Name

Debtor 1

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Case number (irkiiewnt \ O\/ \\ ®\\O

 

About Debtor 1:

Any business names
and Emp|oyer
ldentification Numbers
(E|N) you have used in
the last 8 years

\Al have not used any business names or EiNs.

 

Business name

include trade names and
doing business as names

 

Business name

About Debtor 2 (Spouse Only in a Joint Case):

n l have not used any business names or EiNs.

 

 

Business name

 

Business name

M_"

EN_

 

 

5. Where you live

L;?,<LO §`\\/</ §ptw\»`*”

 

,,/ ‘\

 

lf Debtor 2 lives at a different address:

 

 

 

 

Number street Number street
.i?ew< W/\\ nn l)\\<><t
// city ` state °ZiP code City state ziP code
county' county

lf your mailing address is different from the one
above, t”l|l it in here. Note that the court will send
any notices to you at this mailing address.

lf Debtor 2's mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State Z|P Code City State Z|P Code
6_ Why you are choosing Check one: Check one:

this district to file for

bankruptcy §§_OTer the last 180 days before tiling this petition,

l have lived in this district longer than in any
other district.

n | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

cl Over the last 180 days before H|ing this petition,
l have lived in this district longer than in any
other district. _

n | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Ofticial Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 2

 

 

Debtor 1

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Case number ililmown)

 

First Name Middle Name

Las\ Name

 

§ 7. The chapter of the

` Bankruptcy Code you
are choosing to file
under

m Tell the Court About Your Bankruptcy Case

Check one. (For a brief description of eaoh, see Notice Required by 11 U.S. C. § 342(b) for individuals Filing
or ankruptcy (Forrn 2010)). Also, go to the top of page 1 and check the appropriate box.

f

E§`hapter 7
cl Chapter'11
l:l Chapter 12
Cl Chapter 13

 

8. How you will pay the fee

El l will pay the entire fee when l file my petition. P|ease check with the clerk’s office in your

local court for more details about how you may pay. Typica|ly, if you are paying the fee
yourseif, you may pay with cash, cashier’s check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address

[] l need to pay the fee in installments if you choose this option, sign and attach the

App/ication for Individuals to Pay The Filing Fee in installments (Official Form 103A).

quest that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Officia| Form 103B) and Hle it with your petition.

 

9. Have you filed for
bankruptcy within the
last 8 years?

 

Cl:t'l'»o/

n Yes. District ` ` When Case number
MM/ DD/YYYY

District When Case number
MM/ DD /VYYY

District When Case number

MM/DD/YYYY

 

j 10. Are any bankruptcy

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Yes. Debtor Relationship to you

District When Case number, if known
MM / DD /YYYY

Debtor v Relationship to you

District When Case number, if known
MM / DD/ YYVY

 

11. Do you rent your
l residence?

Officlal Form 101

 

%No. Go to line 12.

n Yes. Has your landlord obtained an eviction judgment against you?

ill No. cote line 12.

L_.l Yes. Fill out initial Statement About an Eviction Judgment Against You (Forrn 101A) and file it as
part of this bankruptcy petition,

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Firsi Name Mio'dle Name Las\ Name

Deotorl w …\ ' Qti%\((§~/l\% case numberi,iinewi» `Ql/ 1\@5£°

m Report About Any Businesses You Own as a Sole Proprietor

 

i 12. Are you a sole proprietor 0_ 90 to pan 4,
k of any full- or part-time l
l business? Yes. Name and location of business

A sole proprietorship is a ,,`/+~»~
business you operate as an

individual, and is not a ,,,e
separate legal entity such as z‘?

f a cor oration, aitnershi ,or /
l LLC. p p p ,/ Number Street

l /

l if you have more than one ~'
sole proprietorship, use a /
separate sheet and attach it //
to this petition, 1

 

/l¢'l\lame of business, if any

 

 

 

City State ZlP Code

Check the appropriate box to describe your business:

n Health Care Business (as defined in 11 U.S.C. § 101(27A))
El Singie Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
l;l Stockbroker (as defined in 11 U.S.C. § 101(53A))

n Commodity Broker (as defined in 11 U.S.C. § 101(6))

n None of the above

 

13. Are you filing under /f you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
` Chapter 11 of the can set appropriate deadlines. if you indicate that you are a small business debtor, you must attach your
Bankruptcy code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business v any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtoi’?
_ _ n No. l am not Hling under Chapter 11.
For a definition of small
business debtor, 598 n No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
11 U-S-C- § 101(51[3)- the Bankruptcy Code.

n Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

meport if You own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention

 

: 14. Do you own or have any gm
l property that poses or is ' "

 

alleged to pose a threat cl Yes. What l$ the hazard?
of imminent and
identifiable hazard to

 

public health or safety?
Qr do you own any

property that needs if immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZlP Code

thcial Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 4

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Debtorl (`,M/A\ Mi\(i¢\a\iji Ua>\li/\

Fiisf Name Middle Name

m Explain Your Efforts to Receive a Briefing About Credit Counseling

Last Name ‘

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Case number iiiknown) ii q / r\ 01 4\"5.

 

15. Te|| the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you H|e for
bankruptcy. You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to file.

 

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

 

Offlcial Form 101

About Debtor 1:

Yo ust check one: `
l received a briefing from an approved credit

` counseling agency within the 180 days before l

filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certihcate and the payment
plan, if any, that you developed with the agency.

Ei l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you me this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any,

a l certify that l asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 130-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the brienng, why
you were unable to obtain it before you Hled for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any, if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.‘

i;i l am not required to receive a briefing about

credit counseling because of:

\;i incapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

Ei Disabi|ity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

Ei Active duty. l am currently on active military
duty in a military combat zone.

|f you believe you are not required to receive a
briefing about credit counseling, you must tile a
motion for waiver of credit counseling with the court.

 

You must check one.'

m l received a briefing from an approved credit

l;i l received a briefing from an approved credit

l:i l certify that l asked for credit counseling

Ei l am not required to receive a briefing about

About Debtor 2 (Spouse On|y in a Jolnt Case):

counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

counseling agency within the 180 days before l
filed this bankruptcy petition, but i do not have a
certificate of completion. :

Within 14 days after you f`l|e this bankruptcy petition, i
you MUST Hle a copy of the certificate and payment
plan, if any.

services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 130-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the brieing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a brieHng within 30 days after you tile.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days

credit counseling because of:

l;i incapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

i:i Disabi|ity. My physical disability causes me
to be unable to participate in a §
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

 

 

 

 

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling. you must file a
motion for waiver of credit counseling with the court. §

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Debtor 1 W M U/\M-/t ( Qc\a’\,t»

Firsl Name Middle Namb "i.asi Nar\le

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Case number (irknown) \G` f i\© \ kD

 

m Answer These Questions for Reporting Purposes

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, famiiy, or household purpose."

l;i No. Go to line 16b.
o \ es Go to line 17.

16. What kind of debts do
you have?

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

/‘\
Yo. Go to line 16c.
Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts

 

 

l 17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

n No. i am not filing under Chapter 7. Go to line 18.

Yes. i am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and

administrative expenses WO " `\
are paid that funds will be n Yes

available for distribution

to unsecured creditors?

, 18. How many creditors do S-FM
' you estimate that you 50.99

L_.l 25,001-50,000
El 50,001-100,000

El 1,000-5,000
El 5,001-10,000

 

; °We'? El 100-199 E] 10,001-25,000 Ei More than 100,000
~ El 200-999 `
19. How much do you ` E$o-$so,ooo El $1,000,001-$10 million El $500,000,001-$1 billion
estimate your assets 10 $50,001-$100,000 El $10,000,001-$50 million El $1,000,000,001-$10 billion

be worth?

El $100,001-$500,000
' E] $500,001-$1 million

El $50,000,001-$100 million
ill $100,000,001-$500 million

Cl $10,000,000,001-$50 billion
El lvlore than $50 billion

 

20. How much do you
estimate your liabilities
to be?

WO-$M,OOO
$50,001-$100,000

ill $100,001-$500,000
El $500,001-$1 million

Cl $1,000,001-$10 million

El $10,000,001-$50 million
El $50.000,001-$100 million
El $100,000,001-$500 million

El $500,000,001-$1 billion

El $1,000,000,001-$10 billion
El $10,000,000,001-'$50 billion
Cl More than $50 billion

 

 

¢Sign Below
1 | have examined this petition, and l declare under penalty of perjury that the information provided is true and
F°\' you correct.

if l have chosen to file under Chapter 7, i am aware that l may proceed, if eligible,'under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed
under Chapter 7.

 

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition,

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a ba u tcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

   

Signature of Debtor 2

 

 

slgnaibre,ot Debtor 1
o

    
 

Executed on Executed on

MM/ DD /YYYY

 

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Debtor 1 CML },\’\QJ 6 @dui Case number (iiknown)

 

 

 

First Name Middle Name Last Name v
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy With°llf an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

; if you are represented by _
an an°rney’ you do not To be successful, you must correctly file and handle your bankruptcy case, The rules are very

§ need to file this page_ technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens, you could lose your right to file another
case, or you may lose protections including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules if you do not list a debt, the debt may not be discharged. if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of ali your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or iying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Ruies of
Bankruptcy Procedure, and the local rules of the court in which your case is filed You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy isa serious action with long-term financial and legal
y consequences?
m No
v Ws

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

EiNo

¢Ves

Did ou pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
id No `

m Yes. Name of Person .
Attach Bankruptcy Petition Preparefs Notice, Deciaration, and Signature (Offlcial Form 119).

 

 

By signing here, l acknowledge that l understand the risks involved in filing without an attorney. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

x /ib_})\/ x

Sigr§fufie of Deb@ Signature of Debtor 2

Date 1 § §§ ;§\ § Daie
MM / DD /YYYY

MM D
Contact phone l+q'g '_;(‘i g_' jdi i i 7 ` Contact phone

Ceil phone Ce|l phone

 

Email address Email address

 

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United States Bankruptcy Court

District of Maryland
ln Re: Q/`(>)Qj\ M C'j©\bY§ Case Number:
Debtor(s) Chapter: /Z

VERIFICATION OF CREDITOR MATRIX

The above named Debtors hereby verify that the attached list of creditors is true and correct to the best oftheir

knowledge
| Signature ofDebtor(s): /S/ w
/s/

Date: / 4 "Z_<;_

 

 

 

 

Case19-11016

towER fcu
7901 sANDY sPRING rd
iaurei, MD 20707

onemain
PO Box 1010
evansviiie, IN 47706

TD Bank USA/ Target
PO BOX 673
Minneapoiis, MN 55440

citizens one
480 Jefferson Bivd
warwick, RI 02886

Verizon Wireiess
Bankruptcy Administration
PO BOX 3397

Bioomington, IL 61702

State of Maryiand
Centrai Coiiections Unit
P.0. Box 17277
Baltimore; MD 21203

Home Depot
PO BOX 182676
Columbus, OH 43218

Bank of America
P.O. Box 15025 y
wiimington, DE 19886-5025

BGE
P.O. Box 1475
Baitimore, MD 21203

Pacific Union Financiai
1601 LBJ Freeway

suite 500

farmers Branch, TX 75234

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